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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

x
JOHN YELLE,
ORDER
Plaintiff,
18-cv-10927 (PMH)
Vv.
MOUNT ST. MARY COLLEGE,
Defendant.
x

PHILIP M. HALPERN, United States District Judge:
On October 29, 2020, the Court heard oral argument via videoconference on Defendant’s
motion for summary judgment (Doc. 35). On November 5, 2020, the Court issued a bench ruling.
For the reasons indicated on the record, the motion for summary judgment is GRANTED.
The Clerk of Court is instructed to terminate the pending motion (Doc. 35) and close this
action.
SO ORDERED:
Dated: New York, New York
November 5, 2020 (Su Ml

Philip M. Halpern
United States District Judge

 

 
